           Case 2:18-cr-00004-DLC Document 40 Filed 05/24/18 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT                     FILED
                      FOR THE DISTRICT OF MONTANA                          MAY 2 4 20f8
                             BUTTE DIVISION
                                                                        Cle~. y.s Di&trid Court
                                                                          Dtstrid Of Montana
                                                                               Missoula

  UNITED STATES OF AMERICA,
                                                    CR 18---04-BU-DLC-05
                  Plaintiffs,
                                                            ORDER
     vs.

  ROSA MARIA BAYONA,

                  Defendant.




      Upon the Government's Motion to Dismiss Indictment as to Rosa Maria

Bayona and finding good cause,

      IT IS ORDERED that the Motion (Doc. 37) is GRANTED. Counts I, II,

and the Forfeiture Allegation of the Indictment are dismissed as to Rosa Maria

Bayona.

      Dated this Z1~day of May, 2018.




                                            Dana L. Christensen, Chief Judge
                                            United States District Court
